 

Case 2:20-cv-18218-SRC-CLW Document1 Filed 12/04/20 Page 1 of 8 PagelD: 1

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
RODGER LECK, *

Plaintiff, CIVIL ACTION No.: 20-cev
vs.

NOTICE OF REMOVAL
PETER KIBUNJA, MSAFIRI ENTERPRISES INC.,
JOHN and JANE DOES 1-10 (fictitious unidentified
individuals) AND ABC CORPORATIONS. 1-10,
(fictitious individuals, corporations or other business
entities presently unidentifiable)

Defendants.
x

 

TO: Matthew V. Villani, Esq.

Gelman, Gelman, Wiskow & McCarthy, LLC

150 Morristown Road, Suite 103

Bernardsville, NJ 07924

PLEASE TAKE NOTICE, that on this date, defendants PETER KIBUNJA and MSAFIRI
ENTERPRISES INC. by their undersigned counsel, have filed this Notice of Removal pursuant to
28 U.S.C. §1446(a), in the office of the Clerk of the United States District Court for the District of
New Jersey.

1. Plaintiff RODGER LECK brought a lawsuit against defendants PETER KIBUNJA
and MSAFIRI ENTERPRISES INC. (and fictitious-named defendants) by filing a Complaint and
Jury Demand in the Superior Court of the State of New Jersey, Law Division, Morris County on
October 16, 2020 as a result of an alleged accident which occurred on March 10, 2020. A copy of
the Complaint is annexed hereto as Ex A.

mn Upon information and belief, the Summons and Complaint were received by PETER
KIBUNJA on November 6, 2020.

oF Upon information and belief, the Summons and Complaint were received by
MSAFIRI ENTERPRISES INC. on November 6, 2020.

4. There have been no other proceedings in this action.

By According to the plaintiff's complaint (Ex. A), the plaintiff purports to be a citizen

and resident of the State of New Jersey, residing in the Bedminster, and County of Somerset.

6. Defendant MSAFIRI ENTERPRISES INC. is a corporation incorporated in the State

 
 

Case 2:20-cv-18218-SRC-CLW Document1 Filed 12/04/20 Page 2 of 8 PagelD: 2

of Maryland and maintains its principal place of business in Silver Spring, Maryland.

7. Defendant PETER KIBUNJA is a resident of the State of Maryland, residing in the
City of Clinton.

8. In the First Count, 4"" paragraph and Second Count, 4" paragraph of the plaintiff's
Complaint, it is alleged that plaintiff RODGER LECK suffered severe and permanent injuries,
suffered and will in the future suffer great pain and distress, was and will be required to curtail his
usual activities and pursuits, has and will incur lost wages and medical expenses. Ex. A.

9. Based upon the language set forth in the plaintiffs Complaint, the matter in controversy
exceeds $75,000, exclusive of interest and costs. Please see Ex. A.

10. Jurisdiction over the subject matter of this action is conferred on this Court by 28
U.S.C. §1441(a).

11. Jurisdiction in this Court is proper pursuant to 28 U.S.C. §1332 and 28 U.S.C. §1441
in that the parties are of complete diversity of citizenship, the amount in controversy exceeds
$75,000 exclusive of interest and costs.

12. This Notice is filed with this Court within 30 days of defendants’ receipt “through
service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon which
such action or proceeding is based,” as provided by 28 USC §1446(b).

PLEASE TAKE FURTHER NOTICE, that the defendants, upon filing the Notice of
Removal in the office of the Clerk of the United States District Court for the District of New Jersey,
have also filed copies of the Notice with the Clerk of the Superior Court of New Jersey, Law
Division, Morris County Courthouse, 56 Washington St, Morristown, NJ 07960, to effect removal
of this action to the United States District Court pursuant to 28 U.S.C. §1446(b).

Dated: December 4, 2020
LAW OFFICES OF LORNE M. REITER, LLC
Attorneys for defendants
PETER KIBUNJA and MSAFIRI ENTERPRISES
Da First Avenue
Atlantic Highlands, New Jersey 07716

Lorne M. Reiter
BY:

 

LORNE M. REITER

 
Case 2:20-cv-18218-SRC-CLW Document1 Filed 12/04/20 Page 3 of 8 PagelD: 3

EX.A
Case 2:20-cv-18218-SRC-CLW Document1 Filed 12/04/20 Page 4 of 8 PagelD: 4

Matthew V. Villani — Attorney ID No.: 026452007
Gelman, Gelman, Wiskow & McCarthy, LLC
150 Morristown Road, Suite 103

 

Bernardsville, NJ 07924
(862)263-0770
Attorneys for plaintiff
Rodger Leck ; SUPERIOR COURT OF NEW JERSEY
: LAWDIVISION: MORRIS COUNTY
Plaintiff,
VS. DOCKET NO.: MRS-L-
Peter Kibunja, Msafiri Enterprises Inc.,  : CIVIL ACTION

JOHN and JANE DOES 1-10 (fictitious :
unidentified individuals) AND ABC : COMPLAINT, JURY DEMAND,
CORPORATIONS 1-10, — (fictitious : DESIGNATION OF TRIAL COUNSEL ,
individuals, corporations or other business : DISCOVERY REQUESTS UPON
entities presently unidentifiable) : DEFENDANTS, AND REQUEST FOR
: ADMISSIONS
Defendants.

 

Plaintiff, Rodger Leck, residing at 11 Cortland Lane, Bedminster, New Jersey, by way of
Complaint against the defendants says:

FIRST COUNT

1. On or about March 10, 2020, the Plaintiff, Rodger Leck, was operating a vehicle on
1-287 at or near mile marker 35.4 in or near Morristown, New Jersey.

2, On the same date and at the same time, Defendant, Peter Kibunja was the operator
of a vehicle owned by the Defendant, Msafiri Enterprises Inc., which was traveling at or near the
aforementioned location.

3. On the above mentioned date and the above mentioned place, defendants owned,
maintained, entrusted, inspected and/or operated their motor vehicle in such a careless, reckless and
negligent manner as to cause their motor vehicle to collide with the motor vehicle operated and

occupied by the Plaintiff.
Case 2:20-cv-18218-SRC-CLW Document1 Filed 12/04/20 Page 5 of 8 PagelD: 5

4, As a direct and proximate result of the aforesaid negligence of the Defendants, the
Plaintiffs suffered severe and permanent injuries, suffered and in the future will suffer great pain
and distress, was and will be required to curtail their usual activities and pursuits, has and will incur
lost wages and medical expenses.

5. This action is not barred by N.J.S.A. 39:6A-1, et seq.

WHEREFORE, plaintiff demands judgment against the defendants for damages, interest
and costs of this action.

SECOND COUNT

1. Plaintiff repeats and realleges the allegations of the prior Count as though set forth
at length herein.

2. Defendants, John and Jane Does 1-10 and ABC Corporations 1-10, are theretofore
unidentified individuals and business entities named herein for the express purpose of tolling the
applicable statute of limitations.

3. On the same date, defendants, and each of them, so carelessly, récklessly and
negligently caused a motor vehicle to strike the motor vehicle operated and occupied by the Plaintiff.

4, As a direct and proximate result of the negligence of the Defendants, the Plaintiff
suffered severe and permanent injuries, suffered and in the future will suffer great pain and distress,
was and will be required to curtail their usual activities and pursuits, has and will incur lost wages
and medical expenses.

5. This action is not barred by N.J. Stat. 39:6A-1, et seq.

WHEREFORE, Plaintiff demands judgment against the Defendants for damages, interest

and costs of this action.
Case 2:20-cv-18218-SRC-CLW Document1 Filed 12/04/20 Page 6 of 8 PagelD: 6

JURY DEMAND

Plaintiff demands a trial by jury of all issues so triable.

CERTIFICATION
The undersigned certifies that the above matter is not the subject of any other action, suit
or arbitration proceeding pending or contemplated,
DESIGNATION OF TRIAL COUNSEL
Pursuant to Rule 4:25-4, the firm of Gelman, Gelman, Wiskow & McCarthy, LLC attorneys
for Plaintiff, hereby appoint MATTHEW V. VILLANI as trial counsel.
Gelman, Gelman, Wiskow & McCarthy, LLC
Attorneys for Wis
BY: My, U1. f
EW. VILLANI
DATED: October 14, 2020
 

Case 2:20-cv-18218-SRC-CLW Document1 Filed 12/04/20 Page 7 of 8 PagelD: 7

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
RODGER LECK, *
Plaintiff, CIVIL ACTION No.: 20-cv
vs.
PETER KIBUNJA, MSAFIRI ENTERPRISES INC., CERTIFICATION OF SERVICE

JOHN and JANE DOES 1-10 (fictitious unidentified
individuals) AND ABC CORPORATIONS 1-10,
(fictitious individuals, corporations or other business
entities presently unidentifiable)

Defendants.
x

 

LORNE M. REITER, ESQ. certifies as follows:

1. Iam an attorney duly admitted to practice before this Honorable Court, and I hereby
affirm the truth of the following statements under the penalty of perjury.

2. Iam a member with the law firm of LAW OFFICES OF LORNE M. REITER, LLC,
attorneys for the defendants PETER KIBUNJA and MSAFIRI ENTERPRISES INC. and, as such,
Tam fully familiar with the facts set forth herein.

3. On this date, I served a copy of the within Notice of Removal upon the plaintiff in
this action by mailing same via First Class Mail from 124 First Avenue, Atlantic Highlands, New
Jersey 07716 addressed to the plaintiffs attorney, Matthew V. Villani, Esq., Gelman, Gelman,
Wiskow & McCarthy, LLC, 150 Morristown Road, Suite 103, Bernardsville, NJ 07924 and through
e-filing on the New Jersey State Court website.

4, Further, on this date, I caused a copy of the Notice of Removal to be filed with the
Clerk of the Superior Court of New Jersey, Law Division, Morris County, 56 Washington St,
Morristown, NJ 07960.

5. Pursuant to 28 U.S.C. §1746, I affirm under penalty of perjury that the foregoing is
true and correct.

Dated: December 4, 2020
LAW OFFICES OF LORNE M. REITER, LLC
Attorneys for defendants
Peter Kibunja and Msafiri Enterprises Inc.

124 First Avenue
Atlantic Highlands, New Jersey 07716

 
 

Case 2:20-cv-18218-SRC-CLW Document1 Filed 12/04/20 Page 8 of 8 PagelD: 8

Lorne M. Reiter
BY:

 

LORNE M. REITER

 
